

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-1395-12






JAIME ARTURO ZAMORA,   Appellant


v.


THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW

FROM THE FOURTEENTH COURT OF APPEALS

HARRIS COUNTY





Per curiam.  KEASLER, and HERVEY, J.J., dissent.


O R D E R 


	The petition for discretionary review violates Rule of Appellate Procedure 68.5
because the petition exceeds 15 pages.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies  must be
filed in the Court of Criminal Appeals within thirty days after the date of this order.

En banc.

Delivered: November 7, 2012

Do Not Publish.



